                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

                                      CLERK’S MINUTES
                                      Miscellaneous Hearing

                              Case Number: 8:15-cv-2785-T-36TBM


PLASMA-THERM, LLC,                                     Plaintiff’s Counsel: Ryan Mark Corbett
                                                       and Harvey S. Kauget
                        Plaintiff,


v.


MICRO PROCESSING TECHNOLOGY,                           Defense Counsel: Anthony A. Ferrigno,
INC.,                                                  Lawrence E. Laubscher, Jr., Donald Harvey
                                                       Crawford, II, and Robert Zebro
          Defendant.


 Judge:       Charlene Edwards Honeywell           Court Reporter:    Lynann Nicely


 Deputy       Willye MalVeaux Dent                 Interpreter:       N/A
 Clerk:
 Date:        December 21, 2016                    Time:              9:30 – 11:15
                                                                      Total 1 Hour 45 Minutes

                         CLAIM CONSTRUCTION HEARING [Doc. 30]

Present For Plaintiff: Ryan Mark Corbett and Harvey S. Kauget.

Present for Defendant: Lawrence Laubscher, Anthony A. Ferrigno, Donald Crawford, II and
Robert Zebro.

This matter came before the Court on:

     I.      The Claims Construction Hearing [Doc. 30], Oral Argument and Tutorial
             Presentation.
     Prior to hearing oral argument on the Claim Construction Hearing, the Court announced its
     ruling on the following matters and informed the Parties that the written Order will be filed via
     CM/ECF today.
     A. Defendant, Micro Processing Technology’s (MPT) Motion to Dismiss Plaintiff’s
        Amended Complaint [Doc. 45].
   DENIED, for the reasons stated on the record.

      B. Defendant’s Supplemental Motion to Dismiss Plaintiff’s Amended Complaint, or, in
         the alternative, Motion under Federal Rule of Civil Procedure 19 to Add Parties [Doc.
         47].
    DENIED, for the reasons stated on the record.

     C. Plaintiff, Plasma-Therm’s Motion to Strike Infringement Contentions; and Enter
        Judgment against Defendant on Counts I, III, and V of Plaintiff’s First Amended
        Complaint [Doc. 50].
    DENIED, for the reasons stated on the record.

      D. Plaintiff, Plasma-Therm’s Supplemental Motion to Strike Infringement Contentions
         [Doc.55].
    DENIED, for the reasons stated on the record.

   II.    Oral Argument
Counsel Ryan Corbett presented oral argument and rebuttal on behalf of Plaintiff.
Counsel Larry Laubscher presented oral argument on behalf of Defendant.

RULING: The Court takes this matter under advisement and will issue a written opinion.

Court adjourned.




                                              -2-
